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  10                     IN THE UNITED STATES DISTRICT COURT
  11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
  12                               WESTERN DIVISION
  13
  14
       PROFESSIONAL BEAUTY                    Case No. 2:20-cv-4275-RGK-AS
  15   FEDERATION OF CALIFORNIA,
       et al.,                                 MEMORANDUM OF POINTS AND
  16                                           AUTHORITIES IN SUPPORT OF
                                   Plaintiffs, DEFENDANTS’ MOTION TO
  17                                           DISMISS FIRST AMENDED
                   v.                          COMPLAINT
  18
       GAVIN NEWSOM, et al.,                  [Fed. R. Civ. P. 12(b)(6)]
  19
                                 Defendants. Date:           August 17, 2020
  20                                         Time:           9:00 a.m.
                                             Courtroom:      850
  21                                         Judge:          Hon. R. Gary Klausner
                                             Action Filed:   May 12, 2020
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   1                                    INTRODUCTION
   2        The State of California continues to combat SARS-CoV-2, the virus causing
   3   the novel coronavirus disease-2019 (“COVID-19”) that has spawned a public-
   4   health emergency on a magnitude unseen for at least a century. Plaintiffs—the
   5   Professional Beauty Federation of California (“PBFC”), individual licensed
   6   cosmetologists, and a licensed cosmetology school—assert a variety of claims
   7   challenging the constitutionality of the State’s response to the pandemic,
   8   particularly the State’s initial directives. On June 8, 2020, the Court denied their
   9   motion for preliminary injunctive relief. Dkt. 32. Much has changed since then.
  10   On July 2, the State released guidance for nail salons and other personal care
  11   services, under which most if not all of Plaintiffs’ services were allowed to resume
  12   with modifications if approved by the local jurisdiction. Since then, however, the
  13   virus has come roaring back in California, as it has nation-wide. In response to
  14   recent trends, on July 13, 2020, the Governor announced new restrictions to halt the
  15   spread of COVID-19, including renewed restrictions on personal care services in
  16   certain counties most affected by COVID-19.
  17        Although the factual situation and the State’s emergency public-health
  18   directives continue to evolve, the legal standard for assessing the validity of these
  19   directives remains the same as it was when the Court denied the preliminary
  20   injunction motion. It is the province of the State’s political actors and public-health
  21   experts—and not the Courts—to determine when and how to reopen California’s
  22   economy and protect the public, and, in any event, the State’s orders do not violate
  23   Plaintiffs’ constitutional rights even under traditional constitutional standards.
  24        Plaintiffs’ claims should be dismissed under Federal Rule of Civil Procedure
  25   12(b)(6) for failure to state a claim upon which relief can be granted. Each of
  26   Plaintiffs’ seven causes of action is irremediably defective as a matter of law, and
  27   should be dismissed without leave to amend, for many of the same reasons
  28   discussed in the Court’s order denying Plaintiffs’ motion for a preliminary

                                                 1
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   1   injunction. Whether viewed through the lens of Jacobson v. Commonwealth of
   2   Massachusetts, 197 U.S. 11, 25 (1905), or under the constitutional standards that
   3   traditionally apply, each of Plaintiffs’ claims fails as a matter of law. If the Court
   4   were to find that amendment is possible (and it should not), it should require
   5   Plaintiffs to replead their claims to address the State’s operative directives—
   6   including the State’s guidance for hair salons and other personal care services—and
   7   the current surge of COVID-19 in California and throughout the country.
   8        For these reasons, and those explained more fully below, the Court should
   9   dismiss Plaintiffs’ First Amended Complaint (“FAC”).
  10
  11                                     BACKGROUND

  12   I.   THE COVID-19 PANDEMIC AND THE STATE’S RESPONSE
  13        COVID-19 is a highly contagious and deadly disease, which can be readily
  14   transmitted to others. See S. Bay United Pentecostal Church v. Newsom, 140 S. Ct.
  15   1613, 1613 (2020) (Roberts, C.J., concurring); see also Dkt. 32 at 9. To date, more
  16   than 14 million people have been diagnosed with the disease and more than
  17   603,000 people have died from the disease worldwide.1 In the United States, there
  18   have been more than 3.7 million confirmed cases of COVID-19 and more than
  19   140,000 deaths attributed to the disease.2 In California alone, more than 391,000
  20   Californians have been diagnosed with COVID-19 and 7,694 have died from the
  21   disease.3
  22
             1
                See World Health Organization, Coronavirus Disease (COVID-19)
  23   Pandemic, https://www.who.int/emergencies/diseases/novel-coronavirus-2019 (last
       visited July 20, 2020).
  24          2
                See Ctrs. for Disease Control & Prevention, Cases in U.S.,
       https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html (last
  25   visited July 20, 2020). The Court may take judicial notice of the reported
       COVID-19 cases and deaths, and other matters of public record, without converting
  26   Defendants’ motion to dismiss into a motion for summary judgment. See Fed. R.
       Evid. 201; Cheatham v. Real Time Resolutions, Inc., No. 2:19-cv-08911-RGK-JPR,
  27   2020 WL 1000606, at *2 (C.D. Cal. Jan. 7, 2020).
              3
                Cal. Dep’t of Public Health, COVID-19 Statewide Update,
  28   https://update.covid19.ca.gov/ (last visited July 20, 2020).
                                                 2
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    1           A.   California’s Swift Response to the COVID-19 Pandemic
    2           California responded early and decisively to this crisis, implementing
    3   measures to slow the spread of COVID-19. On March 4, the Governor proclaimed
    4   a State of Emergency. FAC ¶ 23; see Defs.’ Req. for Judicial Notice (“RJN”),
    5   Ex. 1. On March 19, the Governor issued Executive Order N-33-20 (the “Stay-at-
    6   Home Order”) directing all California residents to heed the directives of the State’s
    7   Public Health Officer, FAC ¶ 25, which required “all individuals living in the State
    8   of California to stay home or at their place of residence except as needed to
    9   maintain continuity of operations of [16 specified] federal critical infrastructure
   10   sectors.” RJN, Ex. 2 at 1.4 In addition to those 16 sectors, the Public Health
   11   Officer retained the authority to designate additional sectors as critical. Id. Under
   12   the Stay-at-Home Order, individuals who were not designated “Essential Critical
   13   Infrastructure Workers” were permitted to leave their houses for specified purposes,
   14   such as “access[ing] such necessities as food, prescriptions, and health care.” Id.
   15   at 2. On March 22, 2020, the Public Health Officer released the State’s list of
   16   “Essential Critical Infrastructure Workers.” FAC ¶ 29; RJN, Ex. 3.5 This list did
   17   not include “workers in the hair, skin, nail care, and electrolysis industries.” FAC
   18   ¶ 30.
   19           B.   The State’s Resilience Roadmap
   20           On April 28, 2020, the Governor announced the State’s four-stage “Resilience
   21   Roadmap” to guide the gradual and safe reopening of the State. See RJN, Ex. 4
   22   at 1. The Resilience Roadmap involves the following four stages: safety and
   23   preparation (Stage 1); reopening of lower-risk workplaces and other spaces
   24   (Stage 2); reopening of higher-risk workplaces and other spaces (Stage 3); and,
   25
                 4
                 Plaintiffs indicate that the Stay-at-Home Order was attached to the FAC as
   26   Exhibit 1, see FAC ¶ 25, but no exhibits were attached to the filing. Nevertheless,
        the FAC includes a hyperlink to the Stay-at-Home Order, FAC ¶ 2 n.2. For the
   27   Court’s convenience, Defendants have submitted the complete text of the relevant
        directives as exhibits to their concurrently filed RJN.
   28          5
                 Plaintiffs provide a hyperlink to this list in the FAC. See FAC ¶ 29 n.7.
                                                   3
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    1   finally, an end to the Stay-at-Home Order (Stage 4). Dkt. 32 at 3.6 To implement
    2   the Resilience Roadmap, on May 4, 2020, the Governor issued Executive Order
    3   N-60-20, providing that all California residents are to continue complying with the
    4   Stay-at-Home Order and that the State Public Health Officer shall establish criteria
    5   and procedures for qualifying local jurisdictions to move more quickly through
    6   Stage 2 of the Roadmap. FAC ¶ 60; see also RJN, Ex. 5 at 2.
    7        On May 7, 2020, the State Public Health Officer issued an order that the State
    8   move into Stage Two based on her review of the data and stating that she would
    9   “progressively designate sectors, businesses, establishments, or activities that may
   10   reopen with certain modifications, based on public health and safety needs” and at
   11   “a pace designed to protect public health and safety.” See RJN, Ex. 6 at 2. Local
   12   health jurisdictions that attest to satisfying certain criteria established by the
   13   California Department of Public Health are permitted to move through Stage 2
   14   more quickly than the state as a whole. Id. at 3; see also RJN, Ex. 7. The State
   15   maintains a list of counties that have filed the requisite attestations, and currently,
   16   56 of California’s 58 counties have filed attestations to move more quickly through
   17   Stage 2.7 While California continues to move through the Resilience Roadmap,
   18   “[t]he goal continues to be to open the state in a way that minimizes the risk for
   19   COVID-19 to the extent possible, which includes: 1) limiting non-essential
   20   movement and mixing of populations, especially within jurisdictions with higher
   21   confirmed cases, and 2) delaying the opening of environments in which there is
   22   prolonged and close contact as part of the way [the] business must operate.”8 To
   23   ensure that local jurisdictions are able to respond rapidly to surges in the disease,
   24   attesting counties must have “triggers” for “either slowing the pace through Stage 2
   25         6
                 See also Cal. Dep’t of Public Health, Resilience Roadmap,
        https://covid19.ca.gov/roadmap/ (last updated June 18, 2020) (last visited July 20,
   26   2020).
               7
                 See Cal. Dep’t of Public Health, COVID-19 County Variance Attestation
   27   Form, https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-
        19/County_Variance_Attestation_Form.aspx (last visited July 20, 2020).
   28          8
                 Id.
                                                    4
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    1   or tightening modifications.” RJN, Ex. 7 at 4.
    2        C.    The Release of Guidance for Personal Care Services
    3        On May 26, 2020, the State released guidelines to allow limited services at
    4   barbershops and salons in counties that have attested to their readiness to move
    5   more quickly through Stage 2. See RJN, Ex. 8. These guidelines permit services
    6   only if the licensee and client can both wear face coverings for the entirety of the
    7   service and if they do not require the customer’s face to be touched, e.g., haircuts,
    8   extensions, and color services. Id. at 2-3. In addition, on July 2, 2020, the State
    9   released guidance for “expanded personal care services,” which includes “personal
   10   care that requires touching a client’s face, e.g. facials, electrolysis, and waxing,”
   11   allowing those services to be provided with modifications in counties that have
   12   filed the requisite attestations. RJN, Ex. 9 at 2. This guidance includes specific
   13   “considerations” for esthetic, skin-care, cosmetology, electrology, and nail services.
   14   Id. at 12-13.9
   15        D.    The Ongoing Public-Health Emergency
   16        As California has proceeded through the Resilience Roadmap, the State has
   17   continued to monitor COVID-19 closely in each local community to modulate the
   18   State’s response if needed and to help local communities contain the disease. In
   19   conjunction with the reopening process, the State has maintained a list of
   20   counties—the “County Monitoring List”—that do not meet benchmarks established
   21   by the State in three areas—Elevated Disease Transmission, Increased
   22   Hospitalizations, and Limited Hospital Capacity.10
   23        The State is at a critical juncture in its response to COVID-19. The pandemic
   24
   25
              9
                The guidance for expanded personal care services also addresses body-art
   26   professionals, tattoo parlors, and piercing shops as well as massage services. RJN,
        Ex. 9 at 13-14.
   27         10
                 Cal. Dep’t of Public Health, County Data Monitoring, Step 1: Active Data
        Monitoring, https://www.cdph.ca.gov/Programs/CID/DCDC/Pages/COVID-
   28   19/CountyMonitoringDataStep1.aspx (last visited July 20, 2020).
                                                   5
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    1   has been escalating nationwide.11 In California, between June and July, the daily
    2   rate of new COVID-19 cases doubled, and hospitalization rates have increased
    3   substantially. RJN, Ex. 10.
    4        On July 13, 2020, the Public Health Officer, in consultation with local
    5   communities and public-health officials, ordered the statewide closure of dine-in
    6   restaurants, movie theaters, zoos and museums, and cardrooms. RJN, Ex. 11 at 1.
    7   For counties on the County Monitoring List for three or more consecutive days, the
    8   order also prohibits “indoor operations for additional sectors which promote the
    9   mixing of populations beyond households and make adherence to physical
   10   distancing with face covering difficult,” id. at 1, including places of worship, gyms
   11   and fitness centers, hair salons and barbershops, and personal care services (e.g.,
   12   nail salons, massage parlors, and tattoo parlors), id. at 2. Businesses operating in
   13   these sectors may, however, “modify operations to provide services outside or by
   14   pick-up.” RJN, Ex. 12 at 1. On July 20, 2020, the California Department of Public
   15   Health and the California Department of Consumer Affairs each released guidance
   16   addressing the provision of personal services outdoors. See RJN, Exs. 13, 14, 15.
   17   Also on July 20, 2020, the Board of Barbering and Cosmetology issued a notice
   18   that it will prioritize enforcement on licensees in counties appearing on the County
   19   Monitoring List who continue to operate indoors in violation of the July 13 Order,
   20   and will not discipline licensees operating outdoors in a manner consistent with the
   21   July 20 guidance. See RJN, Ex. 16. As of July 16, 2020, 33 of California’s 58
   22   counties—representing more than 80 percent of the State’s population—were on
   23   the County Monitoring List and, thus, subject to the new closures of indoor
   24   operations for hair salons, barbershops, and other personal care services.12
   25         11
                  See, e.g., Noam N. Levey, COVID-19 Death Tolls Now Rising in Key
        States After Weeks of Decline Nationwide, L.A. Times, July 9, 2020, available at
   26   https://www.latimes.com/politics/story/2020-07-09/covid-19-deaths-tolls-rising
        (last visited July 20, 2020).
   27          12
                  Cal. Dep’t of Public Health, County Variance Info, County Data
        Monitoring (last updated July 20, 2020 at 9:59 a.m.),
   28                                                                        (continued…)
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    1   II.   THE PRESENT ACTION
    2         A.   Plaintiffs’ First Amended Complaint
    3         On May 12, 2020, Plaintiffs filed their complaint against Defendants. On May
    4   18, 2020, Plaintiffs filed the operative FAC. Dkt. 11. Plaintiffs challenge the
    5   Governor’s Stay-at-Home Order and reopening plan facially and as applied to them,
    6   FAC ¶ 2, asserting seven causes of action: (1) violation of the Fourteenth
    7   Amendment to the U.S. Constitution (substantive and procedural due process);
    8   (2) violation of the Fourteenth Amendment to the U.S. Constitution (equal
    9   protection); (3) violation of the Fifth Amendment to the U.S. Constitution (takings);
   10   (4) violation of the Eighth Amendment to the U.S. Constitution (excessive fines and
   11   cruel and unusual punishment); (5) violation of article 1, section 1 of the California
   12   Constitution (right to liberty); (6) violation of article 1, section 7 of the California
   13   Constitution (due process); and (7) violation of article 1, section 19 of the
   14   California Constitution (takings). Plaintiffs pray for a declaration that the Stay-at-
   15   Home Order is unconstitutional and an injunction against enforcing it against
   16   Plaintiffs. Id. at 43 (Prayer for Relief).
   17         B.   The Denial of Plaintiffs’ Motion for a Preliminary Injunction
   18         On May 19, 2020, Plaintiffs filed an ex parte application for a temporary
   19   restraining order to enjoin enforcement of the Stay-at-Home Order against them.
   20   Dkt. 16. After thorough briefing on the application, on June 8, 2020, the Court
   21   converted Plaintiffs’ application to a motion for preliminary injunction and denied
   22   the motion without prejudice. Dkt. 32.
   23         The Court held that Plaintiffs were not likely to succeed on the merits of the
   24   claims they asserted in support of their motion for an injunction.13 Dkt. 32 at 7-12.
   25   The Court applied the Jacobson framework to Plaintiffs’ claims, under which the
   26   https://covid19.ca.gov/roadmap-counties/#affected-counties (last visited July 20,
        2020).
   27          13
                  Plaintiffs’ did not address their fourth cause of action for violation of the
        Eighth Amendment in support of their motion for a preliminary injunction, and the
   28   Court did not analyze that claim in denying the motion. Dkt. 32 at 12.
                                                     7
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    1   “Court must uphold the Stay at Home Order’s bar on Plaintiffs practicing their
    2   profession unless (1) the measure has no real or substantial relation to public health,
    3   or (2) the measure is ‘beyond all question, a plain, palpable invasion of rights
    4   secured by the fundamental law.’” Id. at 8 (quoting Jacobson, 197 U.S. at 31). The
    5   Court determined, first, that the Stay-at-Home Order “bears a real and substantial
    6   relation to public health insofar as it bars cosmetologists from working.” Id. at 9.
    7   Second, the Court held that the Stay-at-Home Order was not “beyond all question, a
    8   plain, palpable invasion of rights secured by the fundamental law.” Id. at 10-12.
    9        The Court also held that the balance of the equities and the public interest did
   10   not at the time “tip[] heavily” in favor of enjoining the Stay-at-Home Order with
   11   respect to Plaintiffs’ professions. Dkt. 32 at 13. The Court observed that
   12   “California’s Stay at Home Order is informed by a desire to preserve public health
   13   in response to a pandemic” and that “[e]njoining the State from enforcing the Stay
   14   at Home Order against Plaintiffs at this stage in the crisis would be premature and
   15   might undermine the State’s efforts and disrupt the balance of powers established
   16   by our federal system.” Id. (citing S. Bay United Pentecostal Church, 140 S. Ct.
   17   1613 (Roberts, C.J., concurring)). Accordingly, the Court denied without prejudice
   18   Plaintiffs’ motion for a preliminary injunction.
   19                                   LEGAL STANDARD
   20        Under Federal Rule of Civil Procedure 12(b)(6), a complaint should be
   21   dismissed if it fails to state a claim upon which relief can be granted. A court
   22   should dismiss a complaint “if it fails to plead enough facts to state a claim to relief
   23   that is plausible on its face.” In re Cutera Securities Litig., 610 F.3d 1103, 1107
   24   (9th Cir. 2010) (citation omitted). In ruling on a motion to dismiss, a court does not
   25   accept as true a complaint’s legal conclusions. Ashcroft v. Iqbal, 556 U.S. 662, 678
   26   (2009). “Threadbare recitals of the elements of a cause of action, supported by
   27   mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678. If a
   28   complaint’s defects are not curable, the court should dismiss without leave to

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    1   amend. See Coakley v. Murphy, 884 F.2d 1218, 1222 (9th Cir. 1989). In ruling on
    2   a motion to dismiss, a court may consider “documents attached to the complaint,
    3   documents incorporated by reference in the complaint, or matters of judicial
    4   notice.” United States v. Ritchie, 342 F.3d 903, 908 (9th Cir. 2003).
    5                                       ARGUMENT
    6   I.   PLAINTIFFS FAIL TO STATE A PLAUSIBLE CLAIM UPON WHICH RELIEF
             MAY BE GRANTED
    7
             A.   Plaintiffs Fail to State a Claim under the Deferential Jacobson
    8             Framework
    9        The Supreme Court has long recognized that “a community has the right to
   10   protect itself against an epidemic of disease which threatens the safety of its
   11   members.” Jacobson, 197 U.S. at 27; see also Kansas v. Hendricks, 521 U.S. 346,
   12   356-57 (1997) (recognizing the continuing vitality of Jacobson); S. Bay United
   13   Pentecostal Church, 140 S. Ct. 1613, 1613 (2020) (Roberts, C.J., concurring)
   14   (applying Jacobson). The Court has permitted states to enact “quarantine laws and
   15   health laws of every description.” Jacobson, 197 U.S. at 27 (internal quotation
   16   marks omitted); see, e.g., Compagnie Francaise de Navigation a Vapeur v. Bd. of
   17   Health of State of La., 186 U.S. 380 (1902); see also Benson v. Walker, 274 F. 622
   18   (4th Cir. 1921); Hickox v. Christie, 205 F. Supp. 3d 579 (D.N.J. 2016). The
   19   exercise of these emergency powers “necessarily restricts activities that would
   20   normally be constitutionally protected.” United States v. Chalk, 441 F.2d 1277,
   21   1280 (4th Cir. 1971). Although the Constitution is not suspended during a public-
   22   health emergency, the Supreme Court has recognized that “under the pressure of
   23   great dangers” constitutional rights may be reasonably restricted “as the safety of
   24   the general public may demand.” Jacobson, 197 U.S. at 29.
   25        Under the Jacobson framework, an emergency measure must be upheld unless
   26   (1) the measure “has no real or substantial relation to public health,” or (2) the
   27   measure is “beyond all question, a plain, palpable invasion of rights secured by the
   28   fundamental law.” Dkt. 32 at 8 (quoting Jacobson, 197 U.S. at 31). A line of

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    1   judicial rulings has invoked Jacobson in rejecting challenges to the Stay-at-Home
    2   Order. See, e.g., S. Bay United Pentecostal Church, 2020 WL 2813056, at *1
    3   (Roberts, C.J., concurring) (declining to enjoin enforcement of the State’s orders’
    4   ban on in-person religious services); Best Supplement Guide, LLC v. Newsom,
    5   No. 2:20-cv-00965-JAM-CKD, 2020 WL 2615022, at *3–7 (E.D. Cal. May 22,
    6   2020) (concluding that the State’s orders are a “constitutional response to an
    7   unprecedented pandemic”); Givens v. Newsom, __ F. Supp. 3d __, No. 2:20-cv-
    8   00852-JAM-CKD, 2020 WL 2307224, at *3–5 (E.D. Cal. May 8, 2020) (applying
    9   Jacobson to conclude that the plaintiffs were unlikely to succeed on their challenge
   10   to the Stay-at-Home Order); Six v. Newsom, __ F. Supp. 3d __, No. 820-cv-00877-
   11   JLS-DFM, 2020 WL 2896543 at *1–7 (C.D. Cal. May 22, 2020) (same); Cross
   12   Culture Christian Ctr. v. Newsom, __ F. Supp. 3d __, No. 2:20-cv-00832-JAM-
   13   CKD, 2020 WL 2121111, at *3–5 (E.D. Cal. May 5, 2020) (the State’s orders “bear
   14   a real and substantial relation to public health”); Gish v. Newsom, No. 5:20-cv-
   15   00755-JGB-KKX, 2020 WL 1979970, at *4–5 (C.D. Cal. Apr. 23, 2020) (same),
   16   appeal docketed, No. 20-55445 (9th Cir. Apr. 28, 2020); see also RJN, Ex. 17 at 4
   17   (Order Denying Ex Parte Application for TRO, Bols v. Newsom, No. 20-cv-00873-
   18   BEN-BLM (S.D. Cal. June 30, 2020)); RJN, Ex. 18 at 6-16 (Order Denying Pls.’
   19   Emergency Application for TRO, PCG-SP Venture I LLC v. Newsom, No. EDCV
   20   20-1138 JGB (KKx) (C.D. Cal. June 23, 2020)).
   21        Plaintiff’s FAC fails to state a claim that the Stay-at-Home Order is
   22   unconstitutional under the Jacobson framework for two reasons. First, the FAC
   23   fails to plausibly allege that the Stay-at-Home Order “has no real or substantial
   24   relation to” “public health” in addressing the COVID-19 pandemic. Jacobson, 197
   25   U.S. at 31. The FAC fails to allege any facts to support a contention that
   26   COVID-19 does not currently pose a serious public-health threat warranting the
   27   current public-health orders, or that the activities Plaintiffs wish to undertake are
   28   not higher risk than activities currently authorized under the orders. Six weeks ago,
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    1   the Court determined that the Stay-at-Home Order was plainly related to public
    2   health. Dkt. 32 at 9. That fact remains. Since that ruling, 3,047 more Californians
    3   have died from COVID-19, and certain parts of the State, which had progressed
    4   more quickly through the Roadmap, are facing a surge of the disease. Due to the
    5   nature of Plaintiffs’ personal care services, there is a heightened risk of
    6   transmission of the virus that causes COVID-19. Dkt. 32 at 9. Plaintiffs cannot
    7   plausibly allege that the Stay-at-Home Order fails under the first prong of the
    8   Jacobson framework.
    9        Second, the FAC fails to allege that the Stay-at-Home Order is “beyond all
   10   question, a plain, palpable invasion of rights secured by the fundamental law.”
   11   Jacobson, 197 U.S. at 32 (emphasis added). As discussed in detail in Section I.B,
   12   infra, each of Plaintiffs’ claims fails as a matter of law under ordinary constitutional
   13   scrutiny, so a fortiori their claims fail to show a plain and palpable constitutional
   14   violation. But even if Plaintiffs’ allegations could be seen as stating some claim
   15   against the Stay-at-Home Order—and, as discussed in Section I.B, they do not—the
   16   second prong of Jacobson requires more than just a plausible claim; it requires a
   17   plain and palpable invasion of constitutional rights that the FAC fails to allege.
   18        Under the Jacobson framework, the FAC cannot state a claim and should be
   19   dismissed without leave to amend.
   20        B.   Under Traditional Constitutional Standards, Plaintiffs’ Claims
   21             Fail as a Matter of Law
   22        Even if Plaintiffs’ claims are analyzed under constitutional standards that
   23   normally apply in non-emergency circumstances, Plaintiffs’ claims are irremediably
   24   defective and should be dismissed without leave to amend.
   25
                  1.    Due Process Claim under the Fourteenth Amendment
   26                   (Claim 1)
   27        It appears that the FAC asserts both a procedural and substantive due process
   28   claim. See FAC ¶ 100. “To obtain relief on a procedural due process claim, the

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    1   plaintiff must establish the existence of (1) a liberty or property interest protected
    2   by the Constitution; (2) a deprivation of the interest by the government; and (3) lack
    3   of process.” Shanks v. Dressel, 540 F.3d 1082, 1090 (9th Cir. 2008). Plaintiffs fail
    4   to allege that they have been deprived of any property interest merely because the
    5   Stay-at-Home Order restricts the use of their professional licenses. Dkt. 32 at 11.
    6   And even if the FAC plausibly alleges a deprivation of property or liberty interest,
    7   Plaintiffs fail to allege a lack of due process. “Governmental decisions which affect
    8   large areas and are not directed at one or a few individuals do not give rise to the
    9   constitutional procedural due process requirements of individual notice and hearing;
   10   general notice as provided by law is sufficient.” Halverson v. Skagit Cnty., 42 F.3d
   11   1257, 1261 (9th Cir. 1994).
   12        Plaintiffs’ substantive due process claim also fails. Rational basis, and not
   13   strict scrutiny, applies to Plaintiffs’ substantive due process claim because the FAC
   14   fails to identify a fundamental right infringed by the Stay-at-Home Order, as this
   15   Court has already held. See Dkt. 32 at 11. Under rational basis scrutiny, the Stay-
   16   at-Home Order is rationally related to a legitimate—and indeed compelling—
   17   government interest in protecting the public from COVID-19. See supra
   18   Section I.A; see Dkt. 32 at 11. Accordingly, Plaintiffs’ due process claim fails.
   19
                  2.    Equal Protection Claim under the Fourteenth Amendment
   20                   (Claim 2)
   21        Plaintiffs’ equal protection claim fails as a matter of law for several reasons.
   22   “The Equal Protection Clause of the Fourteenth Amendment commands that no
   23   State shall ‘deny to any person within its jurisdiction the equal protection of the
   24   laws,’ which is essentially a direction that all persons similarly situated should be
   25   treated alike.” City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432, 439 (1985).
   26   Differential treatment may violate the Equal Protection Clause only if (1) two
   27   similarly situated groups are treated differently, and (2) the differential treatment
   28
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    1   fails the applicable standard of constitutional scrutiny. See Gallinger v. Becerra,
    2   898 F.3d 1012, 1016 (9th Cir. 2018).
    3        As a preliminary matter, Plaintiffs have failed to make the threshold showing
    4   that the State is treating similarly situated individuals differently. City of Cleburne,
    5   473 U.S. at 439. The State is treating certain businesses and activities differently—
    6   including those businesses and activities in certain jurisdictions of the State—based
    7   on their degree of risk to the public health.14
    8        Second, the Stay-at-Home Order is subject to rational basis scrutiny for the
    9   same reason discussed with respect to Plaintiffs’ substantive due process claim. See
   10   supra Section I.B.1. Rational basis scrutiny applies because Plaintiffs have failed
   11   to identify a fundamental right that has been burdened by the Stay-at-Home Order,
   12   and the State’s directives challenged in this action are rationally related to
   13   legitimate government interests. Plaintiffs’ equal protection claim fails as a matter
   14   of law.
   15              3.   Takings Claim under the Fifth Amendment (Claim 3)
   16        Plaintiffs’ third cause of action asserts a takings claim under the Fifth
   17   Amendment to the U.S. Constitution. Setting aside that the Fifth Amendment does
   18   not apply to the State, any such claim brought under the Fourteenth Amendment
   19   would fail. The Takings Clause of the Fifth Amendment, made applicable to the
   20   states through the Fourteenth Amendment, prohibits the “[g]overnment from
   21   forcing some people alone to bear public burdens which, in all fairness and justice,
   22   should be borne by the public as a whole.” Penn Central Transp. Co. v. City of
   23   N.Y., 438 U.S. 104, 123 (1978) (quotation omitted). Takings claims are generally
   24   divided into two classes: physical and regulatory takings. A physical taking occurs
   25         14
                 Plaintiffs suggest that some licensees are permitted to work in the
        entertainment sector while others are not. See FAC ¶ 30(a). Licensees cannot
   26   provide cosmetology services while following public health guidance around
        physical distancing and therefore could not provide services as an “essential”
   27   worker. See RJN, Ex. 3 at 23 (“Workers supporting the entertainment industries,
        studios, and other related establishments, provided they follow covid-19 public
   28   health guidance around physical distancing.”).
                                                  13
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    1   when the government physically invades or takes title to property either directly or
    2   by authorizing others to do so. Loretto v. Teleprompter Manhattan CATV Corp.,
    3   458 U.S. 419, 426 (1982). In contrast to a physical taking, a regulatory taking
    4   occurs where “government regulation of private property [is] so onerous that its
    5   effect is tantamount to a direct appropriation or ouster.” Lingle v. Chevron U.S.A.,
    6   Inc., 544 U.S. 528, 537 (2005). Government regulation that “completely deprives
    7   an owner of all economically beneficial use of her property” is generally deemed to
    8   be a taking compensable under the Fifth Amendment. Id. at 528. However their
    9   claim is construed, Plaintiffs do not, and cannot, allege that the Stay-at-Home Order
   10   effects a compensable taking.
   11        First, the Stay-at-Home Order does not “take” Plaintiffs’ licenses, which they
   12   will be permitted to use once the current restrictions are lifted. Unlike the raisins
   13   that were seized in Horne v. Department of Agriculture, 135 S. Ct. 2419, 2428
   14   (2015), the State has not physically appropriated Plaintiffs’ property, as would be
   15   required to support a per se physical takings claim. And Plaintiffs’ regulatory
   16   takings claim fares no better. Unlike physical takings, regulatory takings have only
   17   been recognized in the context of real property and do not occur when the value or
   18   use of personal property (e.g., professional licenses) is diminished. See Horne, 135
   19   S. Ct. at 2427 (“Lucas recognized that an owner of personal property ‘ought to be
   20   aware of the possibility that new regulation might even render his property
   21   economically worthless’” (quoting Lucas v. S.C. Coastal Council, 505 U.S. 1003,
   22   1027-28 (1992))). Even with respect to real property, a temporary prohibition on
   23   the use or enjoyment of property does not amount to a per se compensable taking.
   24   See Tahoe-Sierra Pres. Council, Inc. v. Tahoe Reg'l Planning Agency, 535 U.S.
   25   302, 334-35 (2002) (holding that a 32-month moratorium on property development
   26   did not constitute a compensable taking, and rejecting “extreme categorical rule that
   27
   28
                                                  14
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    1   any deprivation of all economic use, no matter how brief, constitutes a compensable
    2   taking”).15
    3        Second, the Stay-at-Home Order is a proper exercise of the State’s police
    4   powers, not its eminent domain power. See supra Section I.A. When the
    5   government exercises its police powers to protect the safety, health, and general
    6   welfare of the public, no compensable taking has occurred. See Chi., B. & Q. R.
    7   Co. v. Illinois, 200 U.S. 561, 594 (1906) (“[T]he legislature may make police
    8   regulations, although they may interfere with the full enjoyment of private property,
    9   and though no compensation is given.” (quotation omitted)); Akins v. United States,
   10   82 Fed. Cl. 619, 622 (2008) (“Property seized and retained pursuant to the police
   11   power is not taken for a ‘public use’ in the context of the Takings Clause.”); Mugler
   12   v. Kansas, 123 U.S. 623, 668-69 (1887) (“[A] prohibition . . . upon the use of
   13   property for purposes that are declared, by valid legislation, to be injurious to the
   14   health, morals, or safety of the community, cannot in any sense, be deemed a taking
   15   or an appropriation of property for the public benefit.”). The FAC fails to state a
   16   claim under the Takings Clause entitling them to any just compensation.
   17              4.   Claim of Excessive Fines/Cruel and Unusual Punishment
   18                   under the Eighth Amendment (Claim 4)
   19        Plaintiffs’ claim of “excessive fines” and “cruel and unusual punishment”
   20   under the Eighth Amendment—which was not at issue in Plaintiffs’ motion for
   21   preliminary injunction—fails as a matter of law. The Eighth Amendment provides
   22   that “[e]xcessive bail shall not be required, nor excessive fines imposed, nor cruel
   23         15
                  Courts have also recognized a regulatory taking may occur when the
        regulation is the functional equivalent of “directly appropriating private property or
   24   ousting the owner,” based on a multi-factor test. Penn Central Transp. Co., 438
        U.S. at 124. The FAC does not cite Penn Central or address the Penn Central
   25   factors, though it alludes vaguely to Plaintiffs’ “reasonable investment-backed
        expectations” at various points. Plaintiffs’ obligations as licensees, however,
   26   include an obligation to observe generally applicable laws, including but not limited
        to the Governor’s emergency directives. Cal. Bus. & Prof. Code § 7303.1.
   27   Plaintiffs do not, and cannot, allege that they have a reasonable, investment-backed
        expectation of being able to serve the public during a pandemic where close,
   28   personal contact with their clients will exacerbate the spread of the virus.
                                                  15
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    1   and unusual punishments inflicted.” U.S. Const. amend. VIII. Here, violations of
    2   the State’s orders could conceivably be punished by a sentence to “county jail not
    3   exceeding six months” and/or a “fine not exceeding one thousand dollars.” Cal.
    4   Penal Code § 19; see also Cal. Gov’t Code § 8665 (prescribing misdemeanor
    5   penalties for violations of the Governor’s emergency orders). It appears that
    6   Plaintiffs are asserting an Eighth Amendment claim under both the Excessive Fines
    7   Clause and the Cruel and Unusual Punishments Clause, see FAC ¶ 127 (discussing
    8   potential fines and incarceration), but they fail to state a claim under either
    9   provision.
   10        The Excessive Fines Clause in the Eighth Amendment applies only to
   11   payments “to a sovereign as punishment for some offense,” and a penalty will be
   12   held unconstitutional only if it is “excessive.” United States v. Bajakajian, 524
   13   U.S. 321, 334 (1998); Harmelin v. Michigan, 501 U.S. 957, 1001 (1991) (Kennedy,
   14   J., concurring) (unconstitutionally excessive fines must be “grossly disproportionate
   15   to the crime”). The only potential fine identified in the FAC is the generic fine for
   16   any misdemeanor—up to $1,000 per offense—and Plaintiffs fail to allege facts
   17   showing that such a fine is “grossly disproportionate” to the underlying violation of
   18   disregarding the State’s emergency public-health directives. FAC ¶ 123. Nor do
   19   Plaintiffs allege that they—or any other licensed beauty professional—have
   20   actually been fined. Id.16 Rather, Plaintiffs merely allege that they were informed
   21         16
                  Indeed, Plaintiffs lack standing to bring an Eighth Amendment claim as
        they do not allege they have been fined or punished for any criminal or civil
   22   violation. The Excessive Fines Clause governs “fines directly imposed by, and
        payable to, the government.” Austin v. United States, 509 U.S. 602, 607 (1993)
   23   (quotation omitted). It “limits the government’s power to extract payments,
        whether in cash or in kind, as punishment for some offense.” Id. at 609-10. In
   24   other words, it is triggered only by a fine imposed by the government for some
        offense. Accordingly, plaintiffs with no legally cognizable interest in money
   25   subject to forfeiture, or payable as a fine, have no standing to bring an Eighth
        Amendment excessive fines challenge. United States v. $4,224,958.57, 392 F.3d
   26   1002, 1005 (9th Cir. 2004); see also, e.g., United States v. $100,348.00 in U.S.
        Currency, 354 F.3d 1110, 1120-21 (9th Cir. 2004) (holding that “Eighth
   27   Amendment standing” extends to holders of a possessory-interest in money subject
        to forfeiture); Conservation Force v. Salazar, 677 F. Supp. 2d 1203, 1213 (N.D.
   28                                                                            (continued…)
                                                  16
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    1   by the Board of Barbering and Cosmetology on May 1, 2020 that it “intend[s] to
    2   revoke or suspend Plaintiffs’ licenses, in addition to the potential for incarceration
    3   and fines.” FAC ¶ 124. That letter was not attached to the FAC, but was attached
    4   as Exhibit 3 to Plaintiffs’ original complaint. Dkt. 1. Contrary to the FAC’s
    5   characterization of the letter, it states: “We have heard of businesses disregarding
    6   the stay at home orders. If businesses continue to put public health and safety at
    7   risk by not following the state and local shelter in place orders, and if circumstances
    8   warrant it, the Board may pursue disciplinary action against their license. This will
    9   not be taken lightly.” Id. (emphasis added). The letter did not reference “the
   10   potential for incarceration and fines,” FAC ¶ 124, and did not threaten any
   11   imminent disciplinary action against any licensees.
   12        The Cruel and Unusual Punishments Clause of the Eighth Amendment bars
   13   “not only barbaric punishments, but also sentences that are disproportionate to the
   14   crime committed.” Gonzalez v. Duncan, 551 F.3d 875, 879 (9th Cir. 2008)
   15   (quoting Solem v. Helm, 463 U.S. 277, 284 (1983)). To the extent Plaintiffs base
   16   their Eighth Amendment claim on the potential suspension or revocation of their
   17   licenses, such a claim fails as a matter of law. See, e.g., Cain v. State of Arkansas,
   18   734 F.2d 377, 378 (8th Cir. 1984) (holding that the Eighth Amendment does not
   19   apply where loss of license is full extent of possible punishment (citing Ingraham v.
   20   Wright, 430 U.S. 651, 664-68 (1977))).
   21        The potential criminal punishments for violating the State’s public-health
   22   directives are far less severe than other penalties that have been upheld under the
   23   Eighth Amendment. See, e.g., Balice v. U.S. Dep’t of Agric., 203 F.3d 684, 698-99
   24   (9th Cir. 2000) (upholding a $225,000 penalty, under a statute authorizing a penalty
   25   of up to $1,000 per day, imposed in connection with violations of certain regulatory
   26   requirements related to almond-handling). Indeed, the potential punishments for a
   27   Cal. 2009) (granting motion to dismiss when a purported conservation group lacked
        standing to bring an Eighth Amendment challenge because “without a forfeited
   28   piece of property it has not alleged an injury-in-fact” (italics added)).
                                                  17
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    1   misdemeanor violation under Cal. Penal Code section 19 are analogous to the
    2   punishments of up to six months incarceration or a maximum fine of $5,000 for a
    3   particular offense that the Supreme Court characterized as “confirm[ing] a minimal
    4   level of culpability” for the offense. Bajakajian, 524 U.S. at 337. Thus, even if
    5   Plaintiffs could allege that a violation of the State’s public-health directives by
    6   licensees is a relatively minor offense, the statutory punishment for such violations
    7   would not be unconstitutionally excessive. And the potential misdemeanor
    8   penalties here are certainly not disproportionate to the gravity of the problem
    9   addressed by the State’s emergency orders—a “highly contagious and often fatal
   10   disease for which there is presently no known cure.” S. Bay United Pentecostal
   11   Church, 2020 WL 2687079, at *1 (Roberts, C.J., concurring). While far from clear,
   12   the gravamen of Plaintiffs’ Eighth Amendment claim appears to be that the Stay-at-
   13   Home Order lacks a rational basis because, on April 18, 2020, the Governor stated
   14   that “we have successfully bent and arguably flattened the curve.” FAC ¶¶ 125,
   15   129. As discussed in Section I.A, supra, however, COVID-19 plainly remains a
   16   threat.
   17        Any amendment to cure these pleading deficiencies would be futile. Plaintiffs
   18   allege that they were “threatened” with fines that amount to a punishment for
   19   misdemeanor violation of an emergency order. FAC ¶ 123. Plaintiffs do not allege
   20   that they have been fined the statutory maximum, nor do they allege that the statute
   21   could be applied in a constitutional way but is not. Plaintiffs’ claim therefore
   22   amounts to a facial challenge to the application of the misdemeanor penalty scheme
   23   to licensee violators, which must fail if there is any set of circumstances where a
   24   punishment under this statutory scheme could pass constitutional muster. See In re
   25   Toll Roads Litigation, No. SACV 16-00262 AG (JCGx), 2018 WL 4945314, at *2
   26   (C.D. Cal. July 31, 2018). “[J]udgments about the appropriate punishment for an
   27   offense belong in the first instance to the legislature.” Bajakajian, 524 U.S. at 336.
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    1   There is no reason to disturb the California Legislature’s judgment here. Thus,
    2   Plaintiffs cannot state an Eighth Amendment claim.
    3              5.   State Law Claims under the California Constitution
    4                   (Claims 5-7)
    5        As this Court has already held, Plaintiffs’ fifth, sixth, and seventh claims,
    6   which allege purported violations of article 1 of the California Constitution, see
    7   FAC ¶¶ 132-152, are barred under the Eleventh Amendment because they arise
    8   under state (and not federal) law. Dkt. 32 at 12; see also Pennhurst State Sch. &
    9   Hosp. v. Halderman, 465 U.S. 89, 106 (1984) (“[I]t is difficult to think of a greater
   10   intrusion on state sovereignty than when a federal court instructs state officials on
   11   how to conform their conduct to state law. Such a result conflicts directly with the
   12   principles of federalism that underlie the Eleventh Amendment.”).17
   13        Even if Plaintiffs’ state-law claims were not barred, they necessarily fail on the
   14   merits. California courts have made clear that the rights to liberty and property do
   15   not override the State’s police powers to protect the public from emergencies such
   16   as the current pandemic. See Ikuta v. Ikuta, 97 Cal. App. 2d 787, 789 (1950) (“The
   17   rights to enjoy liberty, to acquire, possess and protect property, which are secured
   18   to the individual by section 1 [of article 1 of the California Constitution], are not
   19   absolute but are ‘circumscribed by the requirements of the public good.’” (citation
   20   omitted)). And courts have generally construed the federal and state takings clauses
   21   “congruently,” San Remo Hotel, L.P. v. City & Cnty. of San Francisco, 27 Cal. 4th
   22   643, 664 (2002) (collecting cases), so Plaintiffs’ state-law takings claim would fail
   23   for the same reasons their federal claim fails. See supra Section I.B.3.
   24
   25         17
                 Even if Eleventh Amendment immunity did not apply, the Court should
        abstain from considering Plaintiffs’ state-law claims. See La. Power & Light Co. v.
   26   Thibodaux, 360 U.S. 25, 28 (1959) (federal courts may abstain in cases raising
        unsettled issues of state law, where the decision would affect the state’s sovereign
   27   powers); see also Burford v. Sun Oil Co., 319 U.S. 315, 334 (1943) (recognizing
        abstention where a case involves complex questions of state law administered by
   28   state administrative agencies).
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    1   II.   AT A MINIMUM, PLAINTIFFS SHOULD BE REQUIRED TO AMEND THEIR
    2         COMPLAINT TO ADDRESS CURRENT DIRECTIVES

    3         Plaintiffs’ claims fail as a matter of law and should be dismissed without leave
    4   to amend. At a minimum, however, their claims must be repleaded to address the
    5   current public-health directives. The Court lacks the authority to enjoin the State’s
    6   recent directives prohibiting indoor personal care services in counties on the County
    7   Monitoring List because such relief is too attenuated from the allegations, claims,
    8   and relief requested in the FAC. See Pac. Radiation Oncology, LLC v. Queen’s
    9   Med. Ctr., 810 F.3d 631, 636 (9th Cir. 2015) (courts only have authority to grant
   10   injunctive relief where the relationship between the requested injunctive relief and
   11   the underlying complaint is “sufficiently strong” such that it is “‘of the same
   12   character as that which may be granted finally’” (quoting De Beers Consol. Mines
   13   v. United States, 325 U.S. 212, 220 (1945))). As noted, the FAC seeks to enjoin
   14   only the original Stay-at-Home Order and related directives. See, e.g., FAC ¶ 2
   15   (indicating that the relief requested seeks to enjoin the Governor’s March 19, 2020
   16   order). Plaintiffs have not sought to amend the FAC to offer allegations of harm
   17   regarding the new guidelines or moved the district court for relief from the new
   18   rules. That failure has left Defendants and the Court without fact-based allegations
   19   explaining why Plaintiffs’ constitutional rights are injured by the new guidelines.
   20   Accordingly, even if Plaintiffs could state any of the claims asserted—and they
   21   cannot—they would need to amend the pleadings to address the State’s current
   22   directives and the current state of the pandemic.
   23                                     CONCLUSION
   24         For the foregoing reasons, the Court should dismiss the FAC.
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